Case 5:20-cv-08527-EJD Document 52 Filed 12/20/21 Page 1 of 2

UNITED STATES DISTRICT COURT

NORTHERN DISTRICT OF CAIFORNIA

RED BRIDGE LAW, P.C.

LEGAL EXPERTS, INC., ET AL

2 ALS, D
CONSENT ORDER GRANTING “ORTH star of ST

SUBSTITUTION OF ATTORNEY

CASE NO.20-CV-08527-SK

Notice is hereby given that, subject to approval by the court FATIM GORBAGLOU Substitutes

~~» herself in.-place-of Michael.Callon

FILED
DEC 20 2994

Court
IFORNIA

 

Contact information of new counsel is as follows:
Firm Name: FATIM GORBAGLOU, IN PRO PER

Address: 6333 Van Nuys Blvd., Van Nuys CA 91401

Telephone: 323 447 7448
| consent to the above substitution
Date:

| Consent to being substituted

| consent to the above substitution

ee

ae

 

Signature of Former attorney(s)

   
 
   

Signature of new att

The substitution of attorney is herby approved and so ORDERED

Date:

 

JUDGE
Case 5:20-cv-08527-EJD Document 52 Filed 12/20/21 Page 2 of 2

NAME, ADDRESS AND TELEPHONE NUMBER OF ATTORNEY(S)
Michael Callon

6262 A Van Nuys Blyd.
Van Nuys, CA 91401

 

UNITED STATES DISTRICT COURT

CENTRAL DISTRICT OF CALIFORNIA
RED BRIDGE LAW CASE NUMBER

PLAINTIFF(S), 20-CV-08527-SK
Vv.

 

LEGAL EXPERTS, ET AL

PROOF OF SERVICE - ACKNOWLEDGMENT — sa

 

 

 

 

OF SERVICE
DEFENDANT(S).
I, the undersigned, certify and declare that I am over the age of 18 years, employed in the County of
Los Angeles , State of California, and not a
party to the above-entitled cause. On 12/14 , 2021 I served a true copy of
SUBSTITUTION OF ATTORNEYS

 

by personally delivering it to the person (s) indicated below in the manner as provided in FRCivP 5(b); by
depositing it in the United States Mail in a sealed envelope with the postage thereon fully prepaid to the following:
(list names and addresses for person(s) served. Attach additional pages if necessary.)

Place of Mailing: Van Nuys, CA
Executed on 12/14 , 2021 at Van Nuys California

Please check one of these boxes if service is made by mail:
C1 I hereby certify that I am a member of the Bar of the United States District Court, Central District of

California.
[hereby certify that I am employed in the office of a member of the Bar of this Court at whose direction the
service was made.

I hereby certify under the penalty of perjury thayth oes) e and correct.

[ay

      
 
  

  

    

ACKNOWLEDGEMENT OF SERVICE

 

, received a true copy of the within document on .

 

 

Signature Party Served

 

CV-40 (01/00)

 

PROOF OF SERVICE - ACKNOWLEDGMENT OF SERVICE
